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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA :
|
“Vem : SEALED INDICTMENT
CYRIL ASHU, : 19 cr.
a/k/a “Akem Maleke,” : ——— |
a/k/a “Zabi Malik,”
a/k/a “Bill Zambia Morgan,” 3 & |
a/k/a “Anibal Vasquez Roblero,” a ft 1 E ey I ea i
a/k/a “Baker Lee Walter,” i by C a Vi aD

IFEANYI ERE,
a/k/a “Luthur Mulbah Doley,”

JOSHUA IKEJIMBA, :
a/k/a “Johnson Ifeanyi Gbono,” :
a/k/a “Alfred Henshaw,” : HI 9 0 ? M
a/k/a “Peterson Kamara Lawson,” : = 8 9
a/k/a “Ganiru Paul Thompson,”

CHINEDU IRONUAH,

a/k/a “John Akuba Annan,”
a/k/a “Kenneth Kwame Emerson,”

a/k/a “Andrew Kamsi Mong,” ' —
a/k/a “Emmanuel Mong,” « @ aeohrom Pt ote
sy f
a/k/a “George Wallace,” : - os
MAY ~Y 2u19

a/k/a “George Weah, ”
a/k/a “Frederick Werner,”

 

David J, Bradley, Clerk of Court

Defendants,

COUNT ONE
(Conspiracy to Commit Wire Fraud)

The Grand Jury charges;

Background

1. From at least in or about 2016 through at least in or
about July 2018, CYRIL ASHU, a/k/a “Akem Maleke,” a/k/a “Zabi
Malik,” a/k/a “Bill Zambia Morgan,” a/k/a “Anibal Vasquez

Roblero,” a/k/a “Baker Lee Walter,” IFEANYI EKE, a/k/a “Luthur

 

 
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Mulbah Doley,” JOSHUA IKEJIMBA, a/k/a “Johnson Ifeanyi Gbono,“”
a/k/a “Alfred Henshaw,” a/k/a “Peterson Kamara Lawson,” a/k/a
“Ganiru Paul Thompson,” and CHINEDU IRONUAH, a/k/a “gonn Akuba
Annan,” a/k/a “Kenneth Kwame Emerson,” a/k/a “Andrew Kamsi
Mong,” a/k/a “Emmanuel Mong,” a/k/a “George Wallace,” a/k/a
“George Weah,” a/k/a “Frederick Werner,” the deferadants, and
others known and unknown, engaged in a Pesorin ane business email
compromise (“BEC”) scheme to deceive Various victims, including
an intergovernmental organization headquartered in New York, New
York (“Victim-1,” and collectively, the “Victims”) into wiring
payments to bank accounts controlled by the defendants and their
co-conspirators, rather than to the intended beneficiaries of
such payments.

2. In furtherance of the fraudulent BEC scheme, CYRIL
ASHU, a/k/a “Akem Maleke,” a/k/a “Zabi Malik,” a/k/a “Bill
Zambia Morgan,” a/k/a “Anibal Vasquey Roblero,” a/k/a “Baker Lee
Walter,” IFEANYI EKE, a/k/a “Luthur Mulbah Doley,” JOSHUA
IKEJIMBA, a/k/a “Johnson Ifeanyi Gbono,” a/k/a “Alfred Henshaw,”
a/k/a “Peterson Kamara Lawson,” a/k/a “Ganiru Paul Thompson, ”
and CHINEDU TRONUAH, a/k/a “John Akuba Annan,” a/k/a “Kenneth
Kwame PREEBOH ; ” a/k/a “Andrew Kamsi Mong,” a/k/a “Emmanuel
Mong,” a/k/a ‘i eneras Wallace, “ a/k/a “George Weah,” a/k/a
“Frederick Werner,” the defendants, and their co-conspirators,

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among other things, requested and obtained fraudulent

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identification documents in false names; registeresd and
incorporated shell companies; and opened and caused to be opened
bank accounts at various banks in the inthe States, including
accounts in the names of the shell companies and @ccounts opened
under false identities.

3. After the bank accounts were opened, CYRIL ASHU, a/k/a
“Akem Maleke,” a/k/a “Zabi Malik,” a/k/a “Bill Zambia Morgan,”
a/k/a “Anibal Vasquez Roblero,” a/k/a “Baker Lee Walter,”
IFEANYI EKE, a/k/a “Luthur Mulbah Doley,” JOSHUA IKEJIMBA, a/k/a
“Johnson Ifeanyi Gbono,” a/k/a “Alfred Henshaw,” a/k/a “Peterson
Kamara Lawson,” a/k/a “Ganiru Paul Thompson,” and CHINEDU
TRONUAH, a/k/a “John Akuba Annan,” a/k/a “Kenneth Kwame
Emerson,” a/k/a ‘pudkow Katie Mong,” a/k/a “Emmanue] Mong,”
a/k/a “George Wallace,” a/k/a “George Weah,” a/k/a “Frederick
Werner,” the defendants, and their co-conspirators participated
ina fraudulent scheme whereby fraudulent spoofed emails were
sent to the Victims that generally purported to be from
individuals and companies with whom the Victims were ina
business relationship, but, in truth and fact, were not sent or
authorized by those individuals and companies. Instead, the
fraudulent emails were sent from email accounts that were
designed to eeeate the false appearance that they were sent by
individuals and companies with whom the Victims were in a

business relationship. The fraudulent emails contained wiring

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instructions that fraudulently directed that the Victims wire
funds to bank accounts that were, in fact, contro] led by the
defendants and their co-conspirators. |

4. The Victims were successfully tricked imto wiring
funds in accordance with the fraudulent wiring instructions.
Several of the Victims’ fraudulently induced wire transfers
either originated from banks located in the Southern District of
New York or were made through the use of correspondent bank
accounts located in the Southern District of New York,

5. After the Victims wired the funds in accordance with
the fraudulent wiring instructions, CYRIL ASHU, a/k/a a/k/a
“Akem Maleke,” a/k/a “Zabi Malik,” a/k/a “Bill 4ambia Morgan,”
a/k/a “Anibal Vasquez Roblero,” a/k/a “Baker Lee Walter,”
IFEANYI EKE, a/k/a “Luthur Mulbah Doley,” JOSRUA IKEJIMBA, a/k/a
“Johnson Ifeanyi Gbono,” a/k/a “Alfred Henshaw,” a/k/a “Peterson
Kamara Lawson,” a/k/a “Ganiru Paul Thompson,” and CHINEDU
TRONUAH, a/k/a “John Akuba Annan,” a/k/a “Kenneth Kwame
Emerson, ” a/k/a “Andrew Kamsi Mong,” a/k/a “Emmanuel Mong,”
a/k/a “George Wallace,” a/k/a “George Weah,” a/k/a “Frederick
Werner,” the defendants, and others known and unknown, caused
the transferred funds to be quickly transferred, withdrawn, and
uanndexed from the accounts, including by withdrawing cash and

writing.cashier’s checks that were commonly cashed by the

 

 
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defendants and their co-conspirators at check CaShing facilities
in Houston, Texas.

Gi. Through the false and deceptive representations made
over the course of the scheme, CYRIL, ASHU, a/k/a a/k/a “Akem
Maleke,” a/k/a “Zabi Malik,” a/k/a “Bill Zambia Morgan,” a/k/a
“Anibal Vasquez Roblero,” a/k/a “Baker Lee Walter,” IFEANYI EKE,
a/k/a “Luthur Mulbah Doley,” JOSHUA IKEJIMBA, a/k/a “Johnson
Ifeanyi Gbono,” a/k/a “Alfred Henshaw,” a/k/a “Peterson Kamara
Lawson,” a/k/a “Ganiru Paul Thompson,” and CHINEDU TRONUAH,
a/k/a “John Akuba Annan,” a/k/a “Kenneth Kwame Emerson,” a/k/a
“Andrew Kamsi Mong,” a/k/a “Emmanuel Mong,” a/k/a “George
Wallace,” a/k/a “George Weah, ” a/k/a “Prederick Werner,” the
defendants, and their co-conspirators caused the Victims to
CeAnevee A total of several million dollars in United States
currency from the Victims’ bank accounts to bank ssanmt.
controlled by the defendants and their co-conspirators,

Statutory Allegations

Ts From at least in or about 2016 through in or about July
2018, in the Southern District of New York and elsewhere, CYRIL
ASHU, a/k/a “Akem Maleke,” a/k/a “Zabi Malik,” a/k/a “Bill Zambia
Morgan,” a/k/a “Anibal Vasquez Roblero,” a/k/a “Baker Lee Walter,”
IFEANYI EKE, a/k/a “Luthur Mulbah Doley,” JOSHUA IKEJIMBA, a/k/a
“Johnson Ifeanyi Gbono,” a/k/a “Alfred Henshaw,” a/k/a “Peterson

Kamara Lawson,” a/k/a “Ganiru Paul Thompson,” and CHINEDU IRONUAH
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a/k/a “John Akuba Annan,” a/k/a “Kenneth Kwame Emerson,” a/k/a
“Andrew Kamsi Mong,” afte “Emmanuel Mong,” a/k/a “George
Wallace,” a/k/a “George Weah,” a/k/a “Frederick Werner,” the
defendants, and others known and unknown, willfully and knowingly

did combine, conspire, confederate, and agree together and with

each other to commit wire fraud, in violation of Title 18, United

States Code, Section 1343,

8. It was a part and an object of the conspiracy that CYRIL
ASHU, a/k/a “Akem Maleke,” a/k/a “Zabi Malik,” a/k/a “Bill Zambia
Morgan,” a/k/a “Anibal Vasquez Roblero,” a/k/a “Baker Lee Walter,”
IFEANYI EKE, a/k/a “Luthur Mulbah Doley,” JOSHUA EREJIMBA, a/k/a
“Johnson Ifeanyi Gbono,” a/k/a “Alfred Henshaw,” a/k/a “Peterson
Kamara Lawson,” a/k/a “Ganiru Paul Thompson,” and CHINEDU ITRONUAH,
a/k/a “John Akuba Annan,” a/k/a “Kenneth Kwame Emerson,” afues
“Andrew Kamsi Mong,” a/k/a “Emmanuel Mong,” a/k/a “George
Wallace,” a/k/a “George Weah,” a/k/a ‘Frederick Werner,” the
defendants, and others known and unknown, willfully and knowingly,
having devised and intending to devise a scheme and artifice to
defraud and for obtaining money and property by means of false and

fraudulent pretenses, representations, and promises, transmitted

and caused to be transmitted by means of Wire, radio, and

television communication in.interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of

executing such scheme and artifice, to wit, the defendants and co-

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conspirators not named herein perpetrated a scheme using
fraudulent emails to deceive victims into wiring funds intended
for third parties to bank accounts controlled by the defendants
and other co-conspirators, and, in connection therewith and in
furtherance thereof, the defendants transmitted and caused to be
transmitted interstate and foreign wire transfers of funds from
and through the Southern District of New York.

(Title 18, United States Code, Section 1349,)

COUNT TWO
(Wire Fraud)

The Grand Jury further charges:

9, The allegations contained in paragraphs 1 through 6 of
this Indictment are repeated and realleged as if fully set forth
herein.

Fraudulent Scheme Involving IFEANYI EKE’s 0131 Account

10. On or about October 28, 2016, IFEANYI ERE, a/k/a
“Luthur Mulbah Doley,” the defendant, opened a bank account
ending in 0131 (the “0131 Account”) in Marietta, Georgia. After
EKE opened the 0131 Account, Victim-1, as well as two foreign-
based victim companies (“Victim-2” and “Victim-3”), were

deceived into sending funds to the 0131 Account.

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ti. On or about February 15, 2017, Victim~2, a foreign-

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based healthcare company, wired approximately $41,495 to the

0131 Account. Victim-2’s wire transfer was made through the use

 

 

 

 
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of a correspondent bank account located in the SOuthern District
of New York. On or about February 16, 2017, aftex receiving
Victim-2’s wire transfer, IFEANYI ERE, a/k/a “Luthur Mulbah
Doley,” the defendant, used the fraud proceeds to, among other
things, purchase two cashier’s checks totaling approximately
$25,000 payable to CYRIL ASHU, /k/a “Akem Maleke, ” a/k/a “Zabi
Malik,” a/k/a “Bill Zambia Morgan,” a/k/a “Anibal Vasquez
noliers, ” a/k/a “Baker Lee Walter,” the defendant. ASHU cashed
one of the cashier's checks the next day.

i2. On or about February 27, 2017, Victim-1, an
inbexqovernmental organization based in New York, New York,
wired approximately $188,815 to the 0131 Account. Victim-1"s
wire transfer originated from a bank account US ator in the .
Southern District of New York. On or about March by 2017;
IFEANYI EKE, a/k/a “Luthur Mulbah Doley,” the defendant,
transferred approximately $100,000 from the 0131 Account to
another bank account in EKE’s name. On or about March 2, 2017,
EKE used the fraud proceeds to, among other things, purchase a
cashier’s check in the approximate amount of $68,000 payable to
a company called “Curesos Innovation” (“Curesos Check-1”).

13. On or aboirt March 2, 2017, Victim-3, a foreign-based
manufacturing Commadiry, wired apprexiinatelly ss,.685 to the 0131

Between on or about March 2, 2017 and March 4, 2017
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Account.
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ITFEANYI EKE, a/k/a “Luthur Mulbah Doley,” the defendant, used

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the fraud proceeds to, among other things, purchase (i) a
cashier’s check in the approximate amount of £48, O00 payable to
“Curesos Innovation” (“Curesos Check-2"), (i1) a Cashier’s check
in the approximate amount of $68,000 payable to a company called
“Yiwu Offshore Limited” (“yiwu Check-1")}, and (li4) a cashier’s
check in the approximate amount of $96,000 payable to “Yiwu
Offshore Limited” (“Yiwu Check-2”),

14. On or about March 3, 2017, CHINEDU IRONUAH, a/k/a
“John Akuba Annan,” a/k/a “Kenneth Kwame Emerson,” a/k/a “Andrew
Kamsi Mong,” a/k/a “Emmanuel Mong,” a/k/a “George Wallace, ”
a/k/a “George Weah,” a/k/a “Frederick Werner,” the defendant,
cashed Curesos Check-1 and Curesos Check-2 at a check cashing
facility in Houston, Texas (the “Texas Check Cashing Facility”),
receiving approximately $114,840 in cash.

15. On or about March 6, 2017, JOSHUA IKEJIMBA, a/k/a
“Johnson Ifeanyi Gbono,” a/k/a “Alfred Henshaw,” a/k/a “Peterson
Kamara Lawson,” a/k/a “Ganiru Paul Thompson,” the defendant,
cashed .Yiwu Check-1 and Yiwu Check-2 at the Texas Check Cashing |
Facility, receiving approximately $162,360 in cash.

Statutory Allegations

tide From at least in or about October 2016, up to and
fnedudiing at: least:in or about Samal 2017, ‘in the Southenn
District of New York and elsewhere, CYRIL.ASHU, /k/a VAkem

tL

Maleke,” a/k/a “Zabi Malik,” a/k/a “Bill Zambia Morgan,” a/k/a

 
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“Anibal Vasquez Roblero,” a/k/a “Baker Lee Walter,” IPFEANYI EKE,
a/k/a “Luthur Mulbah Doley, “ JOSHUA IKEJIMBA, a/k/a “Johnson
Ifeanyi Gbono,” a/k/a “Alfred Henshaw,” a/k/a “Peterson Kamara
Lawson,” a/k/a “Ganiru Paul Thompson,” and CHINEDY TRONUAH,
a/k/a “John Akuba Annan,” a/k/a “Kenneth Kwame Emerson,” a/k/a
“Andrew Kamsi Mong,” a/k/a “Emmanuel Mong,” a/k/a “George
Wallace,” a/k/a “George Weah,” a/k/a “Frederick Werner,” the
defendants, willfully and knowingly, having devised and
intending to devise a scheme and artifice to defraud, and for
obtaining money and property by means of false and fraudulent
pretenses, representations, and promises, and attempting to do
so, transmitted and caused to be transmitted by means of wire,
radio, and television communication in interstate and foreign
commerce, writings, signs, signals, pictures, and Sounds for the
purpose of executing such scheme and artifice, and did aid and
abet the same, to wit, the defendants perpetrated and aided and
abetted a fraudulent scheme to deceive victims into wiring funds
intended for third parties to the 0131 Account controlled by
EKE, and, in connection therewith and in furtherance thereof,
the defendants transmitted and caused to be transmitted
interstate and ferme wire transfers of funds from and through

‘the southern District of New York.

(Title 18, United States Code, Sections 1343 and 2.)

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COUNT THREE
(Aggravated Identity Theft)

The Grand Jury further charges:

17. The allegations contained in paragraphs 1 through 6
and 10 through 15 of this Indictment are repeated and realleged
as if fully set forth herein,

18. From at least on or about October 25, 20°17, ap to and
including at least in or about December 2017, in the Southern
District of New York and elsewhere, CYRIL ASHU, /k/a “Akem
Maleke,” a/k/a “Zabi Malik,” a/k/a “Bill Zambia Moxgan, ” a/k/a
“Anibal Vasquez Roblero,” a/k/a “Baker Lee Walter,” the
defendant, knowingly did transfer, possess, and use, without
lawful authority, a means of identification of another person,
during and in relation to a felony violation enumerated in
Section 1028A(c), to wit, ASHU used the name and personal
identifying information of an individual to, among other things,
open a bank account ending in 7622 (in the “7622 Account”),
receive approximately $12,366 in fraud proceeds into the 7622
Account, and withdraw funds from the 7622 Account during ae We
relation to the wire fraud offense charged in Count one of this

‘Tadd @uRenE.

(Title 18, United States Code,
Sections 1028A(a) (1), {(b) and 2.)

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FORFEITURE ALLEGATION AS TO COUNTS ONE AND TWO

19. As a result of committing the etieunes Alleged in
Counts One and Two of this Indictment, CYRIL ASHU, /k/a “Akem
Maleke,” a/k/a “Zabi Malik,” a/k/a “Bill Zambia Morgan,” afk/a
“Anibal Vasquez Roblero,” a/k/a “Baker Lee Walter, ” IFEANYI EKE,
a/k/a “Luthur Mulbah Doley,” JOSHUA IKEJTMBA, a/k/a “Johnson
Ifeanyi Gbono,” a/k/a “Alfred Henshaw,” a/k/a “Pet erson Rees
Lawson,” a/k/a “Ganiru Paul Thompson,” and CHINEDU TRONUAH,
a/k/a “John Akuba Annan,” a/k/a “Kenneth Kwame Emerson,” a/k/a
“Andrew Kamsi Mong,” a/k/a “Emmanuel Mong,“ a/k/a “George
wallace,” a/k/a “George Weah,” a/k/a “Frederick Werner,” the
defendants, shall forfeit to the United States, pursuant to
Title 18, United States Code, Section 981(a) (1) (C) and Title 28
United States Code, Section 2461(c), any and all property, real
and personal, that constitutes or is derived from proceeds
traceable to the commission of said offenses, including but not
limited to a sum of money in United States currency representing
the amount of proceeds traceable to the commission of said
offenses.

Substitute Assets Provision

20. If any of the above-described forfeitable property, as

a result of any act or omission of ‘the defendant:

a. cannot be located upon the exercise of due

diligence;

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b. has been transferred or sold to, ot deposited

with, a third party;

Cx has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Titie 21,
United States Code, Section 853(p) and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property

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of the defendant up to the value of the above forfeitable
property.

(Title 18, United States Code, Section 981;
Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

       

GEOFFRE . B
United States Attorney

 

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Form No. USA-33s-274 (Ed. 9-25-58

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA
- yy, +
CYRIL ASHU et al.,

Defendants.

 

 

SEALED INDICTMENT
— a

19 Cr.

(18 U.S.C. §§ 1028a~, 1343, 1349 & 2)

GEOFFREY S. BERMAN
United States Attorney.

TRUE BILL

FOREPERSON

 

 

 
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“Mod AD 442 (09/12) Arrest Werrant AUSA Narae & Telno: Olga 2\ Zverovich (212) 637-2514

UNITED STATES DISTRICT Courr
for the

Southern District of New York

 

United vies of America
Case No.

19CRM 318

ARREST WARRANT
To: Any authorized law enforcement officer

JOSHUA IKEJIMBA, alle “Johnson Ifeanyi Gbono,”
alk/a "Alfred Henshaw,” a/k/a “Peterson Kamara
Lawson, a/k/a “Ganiru Paul Thompson”

Net Nene See Sse ee Ne

 

Defendant

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) — JOSHUA IKEJIMBA ;
who is accused of an offense or violation based on the following document filed with the court!
@& Indictment [3 Superseding Indictment © Ci Information (J Superseding Information Complaint
( Probation Violation Petition C Supervised Release Violation Petition | O Violation Notice OF Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1349 - Conspiracy to Commit Wire Fraud
18 U.8.C, §§ 1343, 2 - Wire Fraud Meat ay,

Sikatin Nats Pm
Date: 04/30/2019 ae alts
ini ee . oe .

City and state: _ New York, New York Kevin Nathaniel Fate, ified! Stati. Saloiate Judge

Printed nohlelaha tite

 

 

Return’

 

This warrant was received on (deta) , and the person was arrested on (date)
at (city and state} .

 

 

Date: _—_——
Arresting afficer's signatue

 

Printed name and title

 

 

 
